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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                          )
                                                   )             8:13CR138
                      Plaintiff,                   )
                                                   )
       vs.                                         )              ORDER
                                                   )
DANNY JUNIOR BRAVO,                                )
                                                   )
                      Defendant.                   )


       This matter is before the court on the motion of defendant Danny Junior Bravo
(Bravo) to suppress (Filing No. 57). Bravo also seeks a Franks hearing and an evidentiary
hearing on his motion to suppress (Filing No. 58). Bravo is charged, along with defendant
Leticia Angela Desman (Desman), with a conspiracy to distribute and possess with intent
to distribute methamphetamine (Count I) in violation of 21 U.S.C. § 846 and the possession
with intent to distribute methamphetamine (Count II) in violation of 21 U.S.C. § 841(a)(1).
Bravo asserts an April 2, 2013, search warrant for the hotel room at the Comfort Inn in
Scottsbluff, Nebraska, and a 2001 Chevy Yukon was based on an application and affidavit
of Investigator Brandi Brunz (Investigator Brunz) which intentionally or with reckless
disregard for the truth omitted essential information.        Bravo asserts if the withheld
information would have been included in the application and affidavit, the Scottsbluff
County Judge would not have issued the search warrant.
       In Franks v. Delaware, 438 U.S. 154 (1978), the Supreme Court defined a limited
exception to the presumptive validity of an affidavit supporting a search warrant or wire
interception order. The Court held that, if the government intentionally includes material
false statements in the application or affidavit or omits material statements with a reckless
disregard for the truth that is the legal equivalent of intentional falsehood, a court reviewing
a motion to suppress must “set aside those statements and then review the remaining
portions of the affidavits to see if what remains [is] sufficient to establish probable cause”
or include such omitted statements to determine whether there would be probable cause
to issue the warrant. United States v. Garcia, 785 F.2d 214, 222 (8th Cir. 1986). As
stated by the Eighth Circuit in United States v. Falls, 34 F.3d 674 (8th Cir. 1994):
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              The defendant may challenge a facially sufficient affidavit by
              showing that the facts included in the affidavit are false or were
              made in reckless disregard of the truth, or that facts were
              omitted with the intent to mislead or in reckless disregard of
              whether it was misleading. The reviewing court must then
              determine whether, either absent the false material or
              supplemented with the omitted material, the remaining
              contents of the affidavit are sufficient to establish probable
              cause. If the remaining contents are insufficient to establish
              probable cause, the warrant must be voided and the fruits of
              the search suppressed.
Id. at 681 (citations omitted). See also United States v. Montes-Medina, 570 F.3d 1052
(8th Cir. 2009); United States v. Williams, 477 F.3d 554 (8th Cir. 2007).
       To succeed in a Franks-type challenge to the validity of a search warrant, a
defendant bears the burden to establish by a preponderance of the evidence that the
affiant, either knowingly and intentionally, or with reckless disregard of the truth, included
a false statement within the warrant affidavit. Franks, 438 U.S. at 155-56; United States
v. Williams, 981 F.2d 1003, 1005 (8th Cir. 1992). The same analysis applies to omissions
of fact. The defendant must show that the facts were omitted with the intent to make, or
in reckless disregard of whether they make, the affidavit misleading. United States v.
Humphreys, 982 F.2d 254, 258 n.2 (8th Cir. 1992); United States v. Reivich, 793 F.2d
957, 960-61 (8th Cir. 1986); United States v. Leuth, 807 F.2d 719, 726 (8th Cir. 1986).
The reviewing court must then determine whether, either absent the false material or
supplemented with the omitted material, the affidavit’s remaining contents are sufficient to
establish probable cause. See Franks, 438 U.S. at 156.
       In order to be entitled to a Franks hearing, the Eighth Circuit has held that the
defendant must satisfy two requirements:
              First, the defendant must make a substantial preliminary
              showing of an intentional or reckless falsehood in the affidavit.
              Franks, 438 U.S. at 155-56 [98 S. Ct. at 2676]. “The
              substantiality requirement is not lightly met.” United States v.
              Wajda, 810 F.2d 754, 759 (8th Cir.), cert. denied, 481 U.S.
              1040 [107 S. Ct. 1981, 95 L. Ed.2d 821](1987). “Allegations of
              negligence or innocent mistake are insufficient.” Franks, 438
              U.S. at 171 [98 S. Ct. at 2684]. Second, the allegedly false


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              statements must be necessary to the finding of probable
              cause. Id. at 156 [98 S. Ct. at 2677].
United States v. Schenk, 983 F.2d 876, 879 (8th Cir. 1993). If these requirements are
not met, no Franks hearing is required. Wajda, 810 F.2d at 759.
       Bravo asserts Investigator Brunz omitted from the affidavit for the search warrant
the following information regarding the confidential informant (CI), now identified as
Christine Castellaw (Castellaw):
              1.      Castellaw gave a proffer statement to law enforcement
              on October 30, 2012, regarding methamphetamine deliveries,
              wherein she revealed she was a methamphetamine user since
              2005 and last used a week before her arrest on September 20,
              2012. Further, in the interview Castellaw admitted she lied on
              an ATF Form 4473 when purchasing handguns. During such
              interview, Castellaw did not identify Bravo as a source of her
              methamphetamine.
              2.      Castellaw violated the conditions of her pretrial release
              by submitting a urine specimen that tested positive for
              methamphetamine on January 7, 2013.
              3.      Investigator Brunz knew that Castellaw was using
              methamphetamine in 2013.
Bravo asserts omitting the above information from the affidavit, which goes to the credibility
and reliability of the CI Castellaw, would preclude the county judge finding there was
probable cause to issue the search warrant.
       First, Bravo has made no offer of proof that any omissions regarding Castellaw’s
use of methamphetamine, her falsification of a firearms acquisition record, or her use of
methamphetamine while on pretrial release were intentionally or recklessly omitted from
the affidavit for the search warrant or were omitted to deceive the issuing judge. See
United States v. Crissler, 539 F.3d831, 833-834 (8th Cir. 2008). In United States v.
Cone, Case No. 12-4023, 2013 WL4461565, at *2 (8th Cir. August 22, 2013), the Eighth
Circuit has held:
              When a defendant alleges an affidavit submitted in support of
              a search warrant applications omitted facts, he bears the
              burden to make a substantial preliminary showing that “facts
              were omitted with the intent to make, or in reckless disregard
              of whether they make, the affidavit misleading,” and “the
              affidavit, if supplemented by the omitted information, could not

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              support a finding of probable cause.” United States v.
              Reinholz, 245 F.3d 765, 774 (8th Cir. 2001); see also Franks,
              438 U.S. at 155-56. This standard is “not lightly met,” United
              States v. Wajda, 810 F.2d 754, 759 (8th Cir. 1987). . . .
       Second, the omission that Castellaw had falsified documents in the past or had
used controlled substances would not have detracted from the probable cause established
by audio and personal surveillance of the meeting between Castellaw and Bravo, and
controlled conditions prior to and after the meeting with Bravo, which resulted in the
acquisition of the controlled substances involving the hotel room and vehicle subject to the
search warrant. As in Cone, supra, the omissions themselves were not critical to a finding
of probable cause.
       Accordingly, Bravo’s attempt to introduce evidence regarding probable cause apart
from the affidavit itself through the mechanism of a Franks hearing is without merit. His
motion for a Franks hearing as part of any evidentiary hearing on the motion to suppress
is be denied. An evidentiary hearing will be granted on the motion to suppress but such
hearing shall not include evidence relating to probable cause for the issuance of the
warrant apart from the “four corners of the affidavit.”


       IT IS ORDERED:
       1.     Bravo’s request for a Franks hearing (Filing No. 58) is denied.
       2.     Bravo’s request for an evidentiary hearing and oral argument on the motion
to suppress (Filing No. 57) is granted. An evidentiary hearing on the motion to suppress
(Filing No. 57) will be held before the undersigned magistrate judge in Courtroom No. 7,
Third Floor, Roman L. Hruska U.S. Courthouse, 111 South 18th Plaza, Omaha, Nebraska,
commencing at 10:00 a.m. on September 17, 2013. The defendant is required to be
present for the hearing.


                                      ADMONITION
       Pursuant to NECrimR 59.2 any objection to this Order shall be filed with the Clerk
of the Court within fourteen (14) days after being served with a copy of this Order. Failure
to timely object may constitute a waiver of any such objection. The brief in support of any

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objection shall be filed at the time of filing such objection. Failure to file a brief in support
of any objection may be deemed an abandonment of the objection.


       DATED this 27th day of August, 2013.


                                                    BY THE COURT:

                                                    s/ Thomas D. Thalken
                                                    United States Magistrate Judge




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